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                           IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                    WESTERN DIVISION


UNITED STATES OF AMERICA

          vs                           4:06CR00135-03-WRW

AARON WEST


                                 AMENDED AND SUBSTITUTED
                                JUDGMENT AND COMMITMENT

          The above entitled cause came on for a hearing on the petition to revoke the supervised

release granted this defendant. Upon the basis of the evidence presented, the Court found that the

defendant did violate certain conditions of his supervised release without just cause.

          IT IS THEREFORE ORDERED AND ADJUDGED that the supervised release granted this

defendant be, and it is hereby, REVOKED.

          The defendant is sentenced to a period of 11 months at a designated Bureau of Prisons

correctional facility. The defendant is to participate in residential or nonresidential substance abuse

treatment during incarceration. The defendant is remanded into the custody of the U.S. Marshal.

          There is no supervised release to follow incarceration.

          IT IS SO ORDERED this 2nd day of February, 2010.




                                                      /s/Wm. R. Wilson, Jr.
                                                UNITED STATES DISTRICT JUDGE




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